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 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
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11    DISH NETWORK L.L.C. and
      SLING TV L.L.C.,                                   Case No. 3:24-cv-00961-JSC
12
                      Plaintiffs,                        ORDER GRANTING PLAINTIFFS’ MOTION
13                                                       FOR PRELIMINARY INJUNCTION
14            v.

15   VANEET SHARMA and
     ASTRO VASTU SOLUTIONS LLC,
16
                      Defendants.
17

18          Pursuant to Federal Rule of Civil Procedure 65 and the Digital Millennium Copyright Act,

19   17 U.S.C. § 1203(b)(1) (“DMCA”), Plaintiffs DISH Network L.L.C. and Sling TV L.L.C. move

20   for a preliminary injunction against Defendants Vaneet Sharma and Astro Vastu Solutions LLC.

21   This Court, having considered Plaintiffs’ motion, supporting declarations, and the applicable law,

22   GRANTS Plaintiffs’ motion and ORDERS as follows:

23          1.      In accordance with Fed. R. Civ. P. 65(d)(1)(A), the reasons for the Court’s issuance

24   of this preliminary injunction are:

25                  a.       Plaintiffs are likely to succeed in showing that Defendants violated sections

26   1201(a)(2) and 1201(b)(1) of the DMCA by trafficking in the internet streaming television service

27   known as Sharma IPTV (the “Service”), which circumvents Plaintiffs’ digital rights management

28   technology and its corresponding protections to gain unauthorized access to Plaintiffs’ television


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 1   channels and then retransmits Plaintiffs’ channels, without authorization, to users that purchase the
 2   Service from Defendants.
 3                  b.       Plaintiffs are likely to suffer irreparable harm if Defendants are not enjoined
 4   from trafficking in the Service, including lost subscription revenues and damage to their reputations
 5   and goodwill that are difficult to measure or quantify. Plaintiffs are also likely to suffer irreparable
 6   harm if Defendants’ assets are not frozen because Defendants are likely to dissipate such assets and
 7   thereby frustrate Plaintiffs’ ability to disgorge Defendants’ profits as damages under the DMCA,
 8   and because, if not frozen, Defendants are likely to use their assets to fund other piracy operations
 9   while this action is pending.
10                  c.       The injury to Plaintiffs in not granting the preliminary injunction and asset
11   freeze outweighs any harm that the injunction and asset freeze will cause Defendants;
12                  d.       The public interest is served by granting the preliminary injunction and asset
13   freeze because it enforces federal law embodied in the anti-piracy provisions of the DMCA.
14          2.      In accordance with Fed. R. Civ. P. 65(d)(1)(B)-(C) and (d)(2), Defendants, and any
15   officer, agent, servant, employee, or other person acting in active concert or participation with them
16   that receives actual notice of the order, are ENJOINED from:
17                  a.        Manufacturing, offering to the public, providing, or otherwise trafficking in
18   the Service or any other technology, product, service, device, component, or part thereof that:
19                          i.          is primarily designed or produced for the purpose of circumventing
20   any DRM technology or other technological measure that Plaintiffs use to control access to or
21   protect against copying of a copyrighted work;
22                        ii.           has only limited commercially significant purpose or use other than
23   circumventing any DRM technology or other technological measure that Plaintiffs use to control
24   access to or protect against copying of a copyrighted work;
25                        iii.          is marketed for use in circumventing any DRM technology or other
26   technological measure that Plaintiffs use to control access to or protect against copying of a
27   copyrighted work.
28          3.      It is further ordered that Defendants are ENJOINED from transferring, removing,

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 1   encumbering, or permitting the withdrawal of any assets or property belonging to or under the
 2   management of Defendants, whether real or personal, tangible or intangible, including cash, virtual
 3   currency, financial or investment accounts of any kind, or title to any property. The asset freeze
 4   will exclude funds that Defendants require to pay their legal fees in this action and other reasonable
 5   and necessary business and personal expenses, as approved by Plaintiffs or the Court.
 6          4.        Defendants must provide a complete and accurate accounting of their assets within
 7   10 days of the date of this order.
 8          5.        The security requirement under Fed. R. Civ. P. 65(c) is set at zero dollars.
 9          6.        This preliminary injunction and asset freeze shall take effect immediately and shall
10   remain in effect until further order of this Court. Defendants are hereby warned that any actions by
11   them in violation of this Order after proper notice may be considered and prosecuted as contempt
12   of this Court.
13          IT IS SO ORDERED.
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16                                                      Hon. Jacqueline Scott Corley
                                                        United States District Judge
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